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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

BRY’TSHEONA WOODS                                                              PLAINTIFF

V.                         NO. 4:19CV00921 BRW-PSH

ANDREW SAUL, COMMISSIONER OF
SOCIAL SECURITY ADMINISTRATION                                              DEFENDANT

                                       JUDGMENT

       Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED,

and ADJUDGED that this case is DISMISSED with prejudice. Judgment is entered in favor of the

Defendant.

       IT IS SO ORDERED this 16th day of October, 2020.



                                          Billy Roy Wilson_______________
                                          UNITED STATES DISTRICT JUDGE
